                                   1:17-cv-01466-JBM # 27    Page 1 of 2
                                                                                                    E-FILED
                                                                           Monday, 16 July, 2018 01:11:41 PM
                                                                               Clerk, U.S. District Court, ILCD

                                   UNITED STATES DISTRICT COURT
                                FOR THE CENTRAL DISTRICT OF ILLINOIS


       ROBERT WILLIAMS,              )
                                     )
       Plaintiff,                    )
                                     )
       v.                            )                  17-CV-1466
                                     )
       WEXFORD HEALTH SOURCES, INC., )
                                     )
       Defendant.                    )

                                 HIPAA QUALIFIED PROTECTIVE ORDER

       During the course of this litigation, the parties may attempt to obtain protected health

information from a covered entity. Accordingly, the Court enters this qualified protective order

regarding the disclosure of protected health information. 45 C.F.R. § 164.512(e)(1)(v).

       This is not an order compelling the production of protected health information. The parties

are still required to seek that information through the lawful process applicable to discovery in any

civil case, such as through discovery requests, subpoena, and motions to compel. This order does

not relieve any party of complying with applicable notice requirements, see 45 C.F.R. §

164.512(e)(1)(ii)(A) & (iii).

IT IS THEREFORE ORDERED:

       1) For purposes of this order, the terms “covered entity” and “protected health information”

are defined in 45 C.F.R. § 160.103.

       2) This order applies to: a) any protected health information sought by a party to this lawsuit

from a covered entity pursuant to a subpoena, discovery request, or other lawful process, 45 C.F.R. §

164.512(e)(1)(ii); and, b) any protected health information for which this Court has specifically

ordered or authorized production, 45 C.F.R. § 164.512(e)(1)(i).



                                                   1
                                1:17-cv-01466-JBM # 27        Page 2 of 2




       3) Anyone receiving protected health information in connection with this litigation is

prohibited from using or disclosing said information for any purpose other than this litigation.

Authorized disclosure for purposes of this litigation includes, but is not limited to, disclosure to the

necessary persons for investigation, consultation, discovery, depositions, trial, appeal, mediation,

settlement, and insurance.

       4) At the end of this litigation, the parties must either return all protected health information

to the covered entity or destroy the information. This litigation ends after judgment has been

entered in this case disposing of all claims and all appeals have been resolved, if any.

       5) Protected health information will not be filed under seal, unless the Court grants a motion

to seal filed by a party. CDIL-LR 5.10.

ENTERED: 7/16/2018

FOR THE COURT:

                                   s/ Joe B. McDade

                                   UNITED STATES DISTRICT JUDGE




                                                    2
